Case 08-14631-GMB Doc 103-1 Filed 04/04/08 Entered 04/04/08 11:07:39                            Desc
         Affidavit of Alan D. Halperin in Support of Application Page 1 of 4



   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY

   Alan D. Halperin, Esq.
   Walter Benzija, Esq.
   Debra J. Cohen, Esq.
   HALPERIN BATTAGLIA RAICHT, LLP
   555 Madison Avenue – 9th Floor
   New York, New York 10022
   (212) 765-9100

   Proposed Attorneys for the Official Joint
   Committee of Unsecured Creditors


   In re:                                                Chapter 11

   SHAPES/ARCH HOLDINGS L.L.C., et al.,                  Case No. 08-14631
                                                         (Jointly Administered)
                              Debtors.
                                                         Judge: Hon. Gloria M. Burns, USBJ


            AFFIDAVIT OF ALAN D. HALPERIN IN SUPPORT OF APPLICATION
                   FOR ENTRY OF AN ORDER AUTHORIZING THE
                RETENTION OF HALPERIN BATTAGLIA RAICHT, LLP AS
               COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
                  CREDITORS, NUNC PRO TUNC, TO MARCH 31, 2008

   STATE OF NEW YORK  )
                      )                      ss.:
   COUNTY OF NEW YORK )

                       Alan D. Halperin, being duly sworn, deposes and says:

                       1.     I am a member of the law firm of Halperin Battaglia Raicht, LLP

   (“HBR”), which maintains offices for the practice of law at 555 Madison Avenue, 9th Floor,

   New York, New York 10022. I am familiar with the matters set forth herein, and make this

   affidavit in support of the application of the Official Committee of Unsecured Creditors (the

   “Committee”) of the above-captioned debtors and debtors-in-possession (collectively, the




   {00061555.1 / 0631-001}
Case 08-14631-GMB Doc 103-1 Filed 04/04/08 Entered 04/04/08 11:07:39                                   Desc
         Affidavit of Alan D. Halperin in Support of Application Page 2 of 4



   “Debtors”), for authority to retain HBR as counsel to the Committee under a general

   retainer.

                       2.    To the best of my knowledge and information, formed after a

   reasonable inquiry, HBR neither holds nor represents any interest adverse to the Committee,

   the Debtors, their creditors, or other parties-in-interest or their respective attorneys in these

   cases. Based upon the information available to me, I believe that HBR is a “disinterested

   person” within the meaning of § 101(14) of Title 11 of the United States Code (the

   “Bankruptcy Code”).

                       3.    I am admitted to practice before this Court, as are the other two HBR

   professionals who I anticipate will be working closely with me on this representation. In the

   event that additional support is needed, we will promptly submit pro hac vice applications

   through our local and conflicts counsel, whose role is discussed below.

                       4.    I have reviewed lists of HBR’s current and past clients and have

   compared them to the Debtors’ chapter 11 petitions, schedules and statements of financial

   affairs, as well as certain pleadings filed at the outset of these cases. To the best of my

   knowledge and based upon HBR’s due inquiry, HBR has not represented any of the parties

   related to the Debtors, their creditors, and other parties-in-interest, except:

                       (a)   From time to time, HBR represents The CIT Group in matters

                             unrelated to the Debtors or these cases. CIT Group/Business Credit,

                             Inc. is the pre-petition and a post-petition lender in these cases, and

                             CIT Group/Equipment Financing is party to an executory contract in

                             these cases, and other CIT entities may also be party to contracts in

                             these cases.




   {00061555.1 / 0631-001}                          2
Case 08-14631-GMB Doc 103-1 Filed 04/04/08 Entered 04/04/08 11:07:39                                Desc
         Affidavit of Alan D. Halperin in Support of Application Page 3 of 4



                       (b)   In the past, HBR has represented Chromalloy, Eaton Corporation,

                             and Euler Hermes ACI in discreet matters unrelated to these cases.

                             Upon information and belief, each of the is an unsecured creditor is

                             an unsecured creditor in these cases.

                       (c)   HBR may have represented as yet unknown creditors of the Debtors

                             in matters unrelated to these cases.

   HBR acknowledges that it has a continuing obligation to disclose potential conflicts to the

   Court during the pendency of the bankruptcy cases and if it becomes aware of any potential

   conflicts will promptly advise the Court.

                       4.    The Committee has selected Cole Schotz Meisel Forman & Leonard,

   P.A. to serve as its conflicts and local counsel, and Cole Schotz will handle any and all

   matters relating to CIT’s loans and contracts in these cases, or any other issues that involve

   matters on which HBR is conflicted. HBR and Cole Schotz have worked together before,

   and I am confident that we will be able to efficiently and effectively represent the interests

   of the Committee. HBR and Cole Schotz have already discussed the division of tasks and

   will carefully coordinate with each other throughout these cases to ensure that they do not

   duplicate efforts.

                       5.    HBR does not, and will not, represent any of the members of the

   Committee, the Debtors, their creditors, or any other party in interest in these proceedings,

   other than the Committee, in matters related to these cases.

                       6.    No agreement exists to share any compensation received by HBR for

   its services with any other person or firm. No promises have been received by HBR or by




   {00061555.1 / 0631-001}                          3
Case 08-14631-GMB Doc 103-1 Filed 04/04/08 Entered 04/04/08 11:07:39                                Desc
         Affidavit of Alan D. Halperin in Support of Application Page 4 of 4



   any member or associate thereof as to compensation in connection with these cases other

   than in accordance with the provisions of the Bankruptcy Code.

                       7.        HBR is willing to be retained by the Committee as its bankruptcy

   counsel, on a general retainer basis, and will bill at its normal hourly rates, which currently

   range from $435 to $175 per hour for attorneys; $125 per hour for law clerks; and $100 to

   $75 per hour for paraprofessionals, plus reimbursement of out-of-pocket expenses. These

   rates are subject to adjustment from time to time. HBR will make appropriate application to

   this Court for compensation and reimbursement of expenses as required by the Bankruptcy

   Code, the Federal Rules of Bankruptcy Procedure, and other Orders of this Court.



                                                        /s/ Alan D. Halperin
                                                       Alan D. Halperin


   Sworn to before me on this
   2nd day of April, 2008


    /s Christopher J. Battaglia
   NOTARY PUBLIC
   Christopher J. Battaglia
   Notary Public, State of New York
   No. 02BA6064315
   Qualified in New York County
   Commission Expires November 1, 2009




   {00061555.1 / 0631-001}                             4
